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                                  11
777 S. FIGUEROA ST., SUITE 2800




                                                           UNITED STATES DISTRICT COURT
 LOS ANGELES, CALIFORNIA 90017




                                  12
                                                        CENTRAL DISTRICT OF CALIFORNIA
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                                  14 IRONSHORE SPECIALTY                            Case No. 2:21-cv-01272
                                     INSURANCE COMPANY,
                                  15                                                COMPLAINT
                                             Plaintiff,
                                  16
                                         v.
                                  17
                                     UNIVERSITY OF SOUTHERN
                                  18 CALIFORNIA, and GEORGE M.
                                     TYNDALL,
                                  19
                                                   Defendants.
                                  20
                                  21
                                  22         1.    In this insurance action, Ironshore Specialty Insurance Company
                                  23 (“Ironshore”) seeks a declaration that the excess healthcare professional liability
                                  24 policy that it issued to the University of Southern California (“USC”) bars or limits
                                  25 coverage for claims asserted against USC, the Board of Trustees of USC (the
                                  26 “Trustees”), and Dr. George Tyndall. Alternatively, Ironshore seeks rescission of
                                  27
                                  28

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                                                                           COMPLAINT__
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                                   1 the Policy.
                                   2         2.     When USC applied for the policy, USC failed to disclose, among other
                                   3 things, that it had forced Dr. Tyndall to resign after a USC investigation,
                                   4 coordinated by USC’s General Counsel, found in January 2017 that Dr. Tyndall had
                                   5 violated USC’s policies on race and sexual harassment and failed to meet
                                   6 professional medical standards in his interactions with patients. Despite USC’s
                                   7 knowledge of complaints made against Dr. Tyndall by nurses, medical assistants,
                                   8 and patients, and despite its own findings that the complaints had merit, USC kept
                                   9 Ironshore and other insurers in the dark. These now well-established facts bar
                                  10 coverage under the terms of the Primary Policy. Furthermore, had Ironshore
                                  11 known of these material, serious allegations and the underwriting risks they
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                                  12 presented, at a minimum, Ironshore would not have offered to provide insurance to
                                  13 USC on the same terms, and would have expressly excluded coverage for claims
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                                  14 arising out of Dr. Tyndall’s alleged conduct.
                                  15                             JURISDICTION AND VENUE
                                  16         3.     Plaintiff Ironshore Specialty Insurance Company is an insurance
                                  17 company formed under the laws of the State of Arizona and has its principal place
                                  18 of business in Boston, Massachusetts.
                                  19         4.     Defendant University of Southern California is a private corporation
                                  20 formed under the laws of California and has its principal place of business in Los
                                  21 Angeles, California. USC is governed by its Board of Trustees, a self-perpetuating
                                  22 body that has approximately 55 voting members.
                                  23         5.     Defendant George Tyndall is an individual who is a citizen of the State
                                  24 of California.
                                  25         6.     This dispute concerns an insurance policy with a $20 million limit of
                                  26 liability for the policy period at issue.
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                                                                                 COMPLAINT
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                                   1         7.    This Court has subject matter jurisdiction pursuant to 28 U.S.C.
                                   2 § 1332(a) because the dispute is between citizens of different states and the amount
                                   3 in controversy exceeds $75,000, exclusive of interest and costs.
                                   4         8.    Venue in this district is appropriate because the Defendants reside in
                                   5 this district and a substantial part of the events giving rise to this action occurred
                                   6 here. 28 U.S.C. § 1391(b).
                                   7         9.    Ironshore has not agreed to arbitrate this dispute.
                                   8                              FACTUAL ALLEGATIONS
                                   9               A.     Allegations regarding Dr. Tyndall
                                  10         10.   A dispute has arisen between Ironshore and the Defendants due to
                                  11 allegations that have been made concerning Dr. Tyndall, who was employed by
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                                  12 USC as a physician from approximately 1989 to June 30, 2017.
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                                             11.   Dr. Tyndall practiced in the USC Student Health Center, primarily as a
                                  14 gynecologist.
                                  15      12. In early June 2016, the USC Office of Equity and Diversity (“OED”)
                                  16 opened an investigation into Dr. Tyndall after his colleague, nursing supervisor
                                  17 Cindy Gilbert, raised concerns over Dr. Tyndall’s interactions with patients,
                                  18 reporting that some patients were so disturbed by his behavior during exams that
                                  19 they refused further appointments with him, and that Dr. Tyndall did full body scans
                                  20 without noting the fact in the patients’ charts. OED conducted further interviews on
                                  21 June 15, 2016 with other nurses and medical assistants from the Student Health
                                  22 Center who were present during Dr. Tyndall’s patient examinations; these witnesses
                                  23 alleged that Dr. Tyndall frequently made inappropriate comments during
                                  24 examinations that upset patients and resulted in patient complaints, that Dr. Tyndall
                                  25 commonly inserted one or two fingers into the patient’s vaginal opening before
                                  26 inserting the speculum, that Dr. Tyndall conducted full body checks which he did
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                                                                              COMPLAINT
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                                   1 not report in the patient’s chart, and that Dr. Tyndall did not practice proper
                                   2 hygiene. They also expressed concern about Dr. Tyndall’s practices with respect to
                                   3 advising patients about performing breast examinations.
                                   4         13.   At approximately the same time as the OED opened its 2016
                                   5 investigation, the Interim Executive Director of the Student Health Center notified
                                   6 Dr. Tyndall that he had violated the Center’s policies and procedures and Medical
                                   7 Staff Bylaws by, among other things, maintaining patient identifiable medical
                                   8 information (patient photographs) in his office.
                                   9         14.   According to the findings of the U.S. Department of Education, Office
                                  10 for Civil Rights (“OCR”), the investigations into Dr. Tyndall were coordinated by
                                  11 the USC Office of General Counsel. (See Letter dated February 27, 2020 from
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                                  12 Anamaria Loya, U.S. Department of Education, Office for Civil Rights, to Dr. Carol
                                  13 Folt, available at
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                                  14 https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/09186908-
                                  15 a.pdf, at 22 (hereinafter, the “OCR Report”).)
                                  16         15.   On or about June 17, 2016 USC placed Dr. Tyndall on paid leave while
                                  17 USC’s internal investigations proceeded.
                                  18         16.   Dr. Tyndall had been the subject of prior OED investigation. A
                                  19 complaint was made in 2013 that Dr. Tyndall made inappropriate sexual and racial
                                  20 comments, and that some students did not want to be seen by Dr. Tyndall because
                                  21 he made them uncomfortable. In January and April 2016, students reported several
                                  22 instances when Dr. Tyndall allegedly discriminated on the basis of race.
                                  23         17.   As part of the 2016 OED investigation, the co-directors of the USC
                                  24 Student Health Center engaged MDReview to evaluate the medical justifications
                                  25 that Dr. Tyndall offered to OED. MDReview conducted further interviews, which
                                  26 yielded allegations similar to those made in the June 2016 interviews. In its report,
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                                                                             COMPLAINT
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                                   1 MDReview concluded that several of Dr. Tyndall’s practices were not “within
                                   2 current standard of care” and that he “repeatedly exhibits behavior that is
                                   3 unprofessional, inappropriate, and/or unusual.” The report noted that “a number of
                                   4 significant concerns exist that would raise serious questions about patient physical
                                   5 and psychological safety were Dr. Tyndall to return to practice,” including gaps in
                                   6 his “knowledge, clinical judgment, and adherence to current accepted practice
                                   7 guidelines regarding women’s health,” and failure to follow “current basic
                                   8 fundamentals of hygiene and infection control practices.”
                                   9         18.    On January 31, 2017, OED issued reports on its investigation that
                                  10 concluded that Dr. Tyndall had violated USC’s policies on sexual and race
                                  11 harassment. The OED’s conclusions were not disclosed to Arch or the public.
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                                  12         19.    USC did not allow Dr. Tyndall to return to work after the OED reports
                                  13 were issued.
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                                  14         20.    USC has stated that “[a]t the conclusion of the investigation by OED
                                  15 and Compliance in 2017, the university began termination proceedings.” See
                                  16 “Summary of Coordinated Investigation of Student Health Physician,” available at
                                  17 https://pressroom.usc.edu/files/2018/05/Summary-fact-sheet_5.15.18.pdf.
                                  18         21.    On or about May 16, 2017, USC told Dr. Tyndall that USC was
                                  19 terminating his employment.
                                  20         22.    On or about June 23, 2017, USC presented Dr. Tyndall with a
                                  21 severance agreement, which Dr. Tyndall subsequently accepted. Under this
                                  22 agreement, Dr. Tyndall’s employment ended effective June 30, 2017. This is one
                                  23 day before the inception of the Ironshore Policy under which USC has submitted
                                  24 claims arising from Dr. Tyndall’s conduct.
                                  25         23.    USC did not disclose Dr. Tyndall’s termination or the reasons for it to
                                  26 the public or to Ironshore.
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                                                                             COMPLAINT
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                                   1         24.    USC has stated that when Dr. Tyndall was terminated he said that he
                                   2 was retiring from the practice of medicine. However, when Dr. Tyndall sought
                                   3 reinstatement to USC in early 2018, USC filed a complaint regarding Dr. Tyndall
                                   4 with the Medical Board of California, alleging unprofessional conduct.
                                   5         25.    On or before May 8, 2018, USC learned that the Los Angeles Times
                                   6 planned to publish an article concerning allegations made against Dr. Tyndall. On
                                   7 May 15, the eve of publication, USC issued its first statements concerning the
                                   8 matter to the public. Within days, the first lawsuits were filed by Dr. Tyndall’s
                                   9 former patients against him and USC, alleging sexual assault and battery,
                                  10 discrimination, and numerous other torts and statutory violations.
                                  11         26.    On or about June 26, 2019, Dr. Tyndall was arrested and charged with
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                                  12 multiple felony counts of sexual assault and battery in state court. Additional
                                  13 charges were filed in July 2020. Dr. Tyndall has pleaded not guilty and the criminal
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                                  14 action is pending.
                                  15               B.     The Underlying Lawsuits
                                  16
                                             27.    The lawsuits against USC and Dr. Tyndall, and some naming the
                                  17
                                       Trustees, have been filed in this Court and in the Superior Court for the County of
                                  18
                                       Los Angeles.
                                  19
                                                          1.     The Federal Class Action
                                  20
                                             28.    Most of the federal lawsuits were filed as putative class actions, and
                                  21
                                       they were ultimately consolidated as In re USC Student Health Center Litigation,
                                  22
                                       Civ. A. No. 2:18-4258 (the “Federal Class Action”).
                                  23
                                             29.    The Federal Class Action resulted in an opt-out settlement on behalf of
                                  24
                                       a nationwide class (the “Federal Settlement”). This Court certified the settlement
                                  25
                                       class and finally approved the Federal Settlement by order entered on February 25,
                                  26
                                       2020, which was not appealed. Under the Federal Settlement, USC agreed to pay
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                                                                              COMPLAINT
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                                   1 the settlement class $215 million plus attorney’s fees capped at $25 million.
                                   2         30.   Ironshore did not consent to the settlement, but agreed not to raise lack
                                   3 of consent as a defense to coverage under the Policy.
                                   4         31.   Ironshore has paid USC the full limit of liability of the Policy subject to
                                   5 a full reservation of its rights, including the right to reimbursement of the Policy
                                   6 limits in full.
                                   7         32.   The Federal Class Action was settled before any determination of
                                   8 liability on the part of any defendant in the Federal Class Action – USC, the
                                   9 Trustees, or Dr. Tyndall – was made.
                                  10         33.   Under the terms of the Federal Settlement, all former patients of
                                  11 Dr. Tyndall may receive compensation in “Tier One,” without alleging or
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                                  12 establishing that USC or Dr. Tyndall acted improperly in any way. Upon
                                  13 information and belief, most members of the Federal Class have elected to accept
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                                  14 Tier One compensation and not submit evidence that they are entitled to Tier Two or
                                  15 Tier Three compensation because they were injured by USC or Dr. Tyndall.
                                  16         34.   At the time of the Federal Settlement, the operative Second Amended
                                  17 Complaint (the “Federal Complaint”) asserted 12 putative causes of action, most
                                  18 alleging that USC, the Trustees, and Dr. Tyndall acted or failed to act intentionally
                                  19 or otherwise with a mental state beyond mere negligence. (A true and correct copy
                                  20 of the Federal Complaint is appended as Exhibit C.) The putative causes of action
                                  21 were:
                                  22                                                         USC Trustees Tyndall
                                  23          Count I    Negligent Supervision
                                                                                              X         X
                                                         & Retention
                                  24          Count II Title IX                               X         X
                                  25          Count III Sexual Abuse & Harassment
                                                                                              X         X          X
                                  26                    (Education Code § 220)

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                                                                             COMPLAINT
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                                   1          Count IV Equity in Higher Education
                                                                                              X        X          X
                                   2                     Act (§ 66250)
                                              Count V Gender Violence (Civil Code
                                   3                                                          X                   X
                                                         § 52.4)
                                   4          Count VI Gross Negligence                       X        X          X
                                   5          Count VII Invasion of Privacy                   X        X          X
                                              Count VIII Negligent Failure to Warn,
                                   6                                                          X        X
                                                         Train or Educate
                                   7          Count IX Civil Battery                          X                   X
                                   8          Count X Intentional Infliction of
                                                                                              X                   X
                                                         Emotional Distress
                                   9          Count XI Negligent Infliction of
                                                                                              X                   X
                                  10                     Emotional Distress
                                              Count XII Ratification                          X        X
                                  11
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                                  12         35.   The Federal Complaint alleged that Dr. Tyndall had sexually abused
                                  13 and harassed patients in the guise of providing gynecological care.
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                                  14       36. The Federal Complaint alleged that USC and the Trustees received
                                  15 complaints concerning Dr. Tyndall over the years but failed to take appropriate
                                  16 action and deliberately concealed Dr. Tyndall’s conduct.
                                  17                     2.     The Los Angeles Superior Court Actions

                                  18         37.   Most, if not all, of the actions against USC and Dr. Tyndall filed in the
                                  19 Superior Court of Los Angeles County have been consolidated for pretrial purposes,
                                  20 and the plaintiffs have filed a Master Complaint (the “State-Court Complaint”). (A
                                  21 true and correct copy of the State-Court Complaint is appended as Exhibit D.)
                                  22        38. The State-Court Complaint alleges the following putative causes of
                                  23 action against USC and Dr. Tyndall:
                                  24                                                                       USC Tyndall
                                              Count I   Unruh Act (Civil Code § 51)                         x    X
                                  25
                                              Count II Bane Act (Civil Code § 52.1)                         x    X
                                  26          Count III Gender Violence (Civil Code § 52.4)                      X
                                  27
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                                                                             COMPLAINT
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                                   1          Count IV Sexual Harassment (Civil Code § 51.9)                x         X
                                   2          Count V Sexual Battery (Civil Code § 1708.5)                  x         X
                                              Count VI Unfair Business Practices (Bus. & Prof.
                                   3                                                                        x         X
                                                         Code § 17200)
                                   4          Count VII Intentional Infliction of Emotional Distress        x         X
                                   5          Count VIII Constructive Fraud (Civil Code § 1573)             x         X
                                              Count IX Negligence                                           x
                                   6
                                              Count X Negligent Supervision                                 x
                                   7          Count XI Negligence Per Se                                    x
                                   8          Count XII Negligent Hiring/Retention                          x
                                              Count XIII Negligent Failure to Warn, Train or
                                   9                                                                        x
                                                         Educate
                                  10          Count XIV Invasion of Privacy                                 x         X
                                  11          Count XV Aiding and Abetting                                  x
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                                              Count XVI Fraudulent Concealment                              X
                                  12
                                  13         39.   The State-Court plaintiffs allege that Dr. Tyndall sexually abused,
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                                  14 harassed, and molested patients in the guise of providing gynecological care.
                                  15         40.   The State-Court plaintiffs allege that Dr. Tyndall engaged in acts such
                                  16 as forcing patients to undress in front of him while he watched, groping their
                                  17 breasts, digitally penetrating their vaginas and anuses, often without wearing gloves
                                  18 and with unwashed hands, photographing their genitals and naked bodies, and
                                  19 making racist, misogynistic, and sexually harassing comments to them. These acts
                                  20 allegedly had no legitimate medical purpose.
                                  21         41.   The State-Court plaintiffs further allege that Dr. Tyndall’s
                                  22 photographing of them without a legitimate medical purpose constituted a violation
                                  23 of the Health Insurance Portability and Accountability Act (HIPAA).
                                  24         42.   The State-Court plaintiffs allege that USC received complaints
                                  25 concerning Dr. Tyndall from patients and staff since 1988 but failed to take
                                  26 appropriate action and deliberately concealed Dr. Tyndall’s conduct, while
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                                  28                                             9
                                                                             COMPLAINT
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                                   1 promoting the Student Health Center and compelling students to obtain
                                   2 gynecological services from Dr. Tyndall, the only fulltime gynecologist.
                                   3        43.     The State-Court plaintiffs allege that USC-employed chaperones
                                   4 witnessed sexual abuse of patients by Dr. Tyndall but failed to take appropriate
                                   5 action.
                                   6        44.     The State-Court plaintiffs allege that USC knew or should have known
                                   7 that Dr. Tyndall and other USC staff had sexually molested or abused students, and
                                   8 therefore had a duty to report these incidents but failed to comply with mandatory
                                   9 reporting laws.
                                  10        45.     The State-Court plaintiffs alternatively allege that USC was negligent
                                  11 in hiring and retaining Dr. Tyndall, and in failing to adequately supervise him.
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                                  12        46.     The State-Court plaintiffs allege that USC paid Dr. Tyndall a financial
                                  13 settlement in or around June 2017 so that he would resign after the 2016 OED
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                                  14 investigation in a deliberate attempt to conceal that Dr. Tyndall was a serial sexual
                                  15 predator and avoid criminal consequences, civil liability, and damage to USC’s
                                  16 reputation.
                                  17        47.     The State-Court plaintiffs seek, in addition to compensatory damages,
                                  18 equitable relief, statutory damages, and punitive damages.
                                  19               C.     The Ironshore Policy
                                  20        48.     For the policy period of July 1, 2017 to July 1, 2018, Ironshore issued
                                  21 Follow Form Excess Policy number 001727904 to USC. (A true and correct copy
                                  22 of the Policy is appended to the Complaint as Exhibit A.)
                                  23        49.     The Policy’s Limit of Liability is excess of Underlying Insurance of
                                  24 $80 million each Occurrence and $90 million aggregate.
                                  25      50. The Insuring Agreement states:
                                  26                In consideration of the payment of the premium, and in
                                  27                reliance on the Application, and subject to all of the

                                  28                                             10
                                                                             COMPLAINT
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                                   1                terms, conditions, limitations and endorsements of this
                                                    Policy, the Insurer agrees to provide the Insured with
                                   2
                                                    insurance excess of the Underlying Insurance, and in
                                   3                conformance with the terms, conditions, limitation,
                                                    exclusions, definitions and endorsements of the Primary
                                   4
                                                    Policy, excess as otherwise stated in this Policy. . . .
                                   5
                                             51.    The Policy defines the Primary Policy as the contract issued by BETA
                                   6
                                       Risk Management Authority (“BETArma”), certificate number HCL-17-807 (the
                                   7
                                       “Primary Policy” or “BETA Contract”). (A copy of relevant portions of the BETA
                                   8
                                       Contract is appended as Exhibit B.)
                                   9
                                             52.    Upon information and belief, USC is and was a member of BETArma
                                  10
                                       at the time periods relevant to this Complaint.
                                  11
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                                             53.    The Primary Policy provides Healthcare Entity Professional Liability
 LOS ANGELES, CALIFORNIA 90017




                                  12
                                       coverage. Section 2 of the Primary Policy states:
                                  13
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                                                    1.    BETARMA will pay those sums which the Member is
                                  14                      legally required to pay as damages for a Claim for Bodily
                                  15                      Injury, Property Damage or Economic Damages arising
                                                          out of the Member’s negligence in the rendering of, or
                                  16                      failure to render, Professional Services:
                                  17
                                                          A.     on or after the Retroactive Date; and
                                  18
                                                          B.     at a Covered Location; and provided that
                                  19
                                                          C.     the Claim is first made against the Member during
                                  20
                                                                 the Contract Period and is reported in writing to
                                  21                             BETARMA as soon as possible during the
                                  22                             Contract Period but in no event later than thirty
                                                                 (30) calendar days after termination of the Contract
                                  23                             Period.
                                  24                2.    BETARMA will pay those sums which the Member is
                                  25                      legally required to pay as damages for a Claim arising
                                                          from a negligent act, error or omission resulting in actual
                                  26                      or alleged denial, suspension, revocation, termination or
                                  27                      limitation of medical staff privileges. . . . This coverage
                                  28                                             11
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                                   1                         applies only if the Claim is first made against the
                                                             Member during the Contract Period and is reported in
                                   2
                                                             writing to BETARMA as soon as possible during the
                                   3                         Contract Period but in no event later than thirty (30)
                                                             calendar days after termination of the Contract Period.
                                   4
                                                             BETARMA will defend, but will not indemnity, a Claim
                                   5                         that is otherwise covered under this Section, but alleges an
                                                             intentional act, error or omission.
                                   6
                                   7               [. . .]
                                   8               4.        BETARMA will pay those sums which the Member is
                                                             legally required to pay as damages for a Claim arising out
                                   9
                                                             of the following offenses:
                                  10
                                                             A.    discrimination based upon, without limitation, an
                                  11                               individual’s race, ethnicity, ancestry, national
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                                  12                               origin, citizenship, religion, age, sex, sexual
                                                                   orientation or preference, pregnancy, preexisting
                                  13
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                                                                   medical condition, physical or mental disability or
                                  14                               handicap, insurance status, economic status or
                                                                   ability to pay for medical services, and
                                  15
                                  16                         B.    sexual abuse, assault, battery, harassment or
                                                                   molestation
                                  17
                                                             if the Claimant’s injury arises out of the Member’s
                                  18                         negligence in rendering of, or failure to render,
                                  19                         Professional Services on or after the Retroactive Date;
                                                             and at a Covered Location; and provided that the Claim
                                  20                         is first made against the Member during the Contract
                                  21                         Period but in no event later than thirty (30) calendar days
                                                             after termination of the Contract Period.
                                  22
                                  23                         BETARMA will defend, but will not indemnify, a Claim
                                                             that is otherwise covered under this Section, but alleges an
                                  24                         intentional act or omission.
                                  25
                                             54.   The Primary Policy defines a Member to include USC and any
                                  26
                                       physician employed or formerly employed by USC, “but only with respect to his or
                                  27
                                  28                                                12
                                                                                COMPLAINT
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                                   1 her legal liability when acting within the course and scope of his or her duties” to
                                   2 USC and only to the extent that USC “is permitted or required by law to indemnify
                                   3 her or her.” (Ex. B, § 7, ¶ A; id. Am. H310-01.)
                                   4         55.   The Primary Policy defines a Claim to include a “written demand for
                                   5 damages” including “service of suit.” (Ex. B, § 1.5.) The Primary Policy further
                                   6 states that “no Claim shall be deemed first made during the Contract Period if:
                                   7 C. the Claim or incident was reported before the Effective Date of this Contract to
                                   8 BETARMA or to any liability insurer; or D. any Member had knowledge prior to
                                   9 the Effective Date of facts or circumstances that would cause a reasonable person to
                                  10 believe that a Claim might be made.”
                                  11         56.   The Primary Policy defines the Contract Period as July 1, 2017 to
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                                  12 July 1, 2018.
                                  13         57.   The “Effective Date” of the Primary Policy is July 1, 2017. (Ex. B,
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                                  14 Cert. of Participation, ITEM 3.)
                                  15         58.   The Primary Policy defines a Bodily Injury as “bodily injury,
                                  16 sickness or disease sustained by a person” and includes “mental anguish, mental
                                  17 injury, or shock sustained by that person as a result of such bodily injury, sickness
                                  18 or disease.” (Ex. B, § 1.3.)
                                  19         59.   The Primary Policy defines Economic Damages as “financial loss and
                                  20 does not include damages arising from Bodily Injury….” (Ex B, § 1.10.)
                                  21         60.   The Primary Policy defines Professional Services to include
                                  22 “medical, surgical, dental or nursing or other healthcare services or treatment to a
                                  23 patient, including custodial care and the furnishing of food or beverages in
                                  24 connection with the treatment” and “the furnishing or dispensing of drugs, or
                                  25 medical, dental or surgical supplies or appliances to a patient if the injury occurs
                                  26 after the Member has relinquished possession thereof.” (Ex. B, Am. No. H336-01.)
                                  27
                                  28                                             13
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                                   1        61.    Section 2 of the Primary Policy states that the coverage is subject to
                                   2 the Exclusions in Section 6 and the Total BETArma Will Pay in Section 7 of the
                                   3 Primary Policy.
                                   4        62.    Section 7, Paragraph 10.D, states that if a Claim “involves both
                                   5 covered and noncovered allegations, theories of recovery or relief, BETArma shall
                                   6 be responsible only for that portion of the total amount that is covered” by the
                                   7 Primary Policy.
                                   8        63.    Several exclusions bar coverage, in whole or in part, for the Federal
                                   9 Settlement and the putative claims asserted in the State-Court Actions.
                                  10        64.    Except as otherwise provided in Section 6 of the Primary Policy, the
                                  11 exclusions “apply regardless of whether any other cause, act, error, omission, event
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                                  12 material or product contributes concurrently or in any sequence to a Claimant’s
                                  13 injury or damage.”
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                                  14        65.    Exclusion 1 of the Primary Policy states:
                                  15               This Contract does not apply to any Claim for damages
                                                   arising out of the breach of any contract or agreement or
                                  16
                                                   liability assumed by the Member under any contract or
                                  17               agreement, except that: . . .
                                  18               B.     this exclusion does not apply . . . for liability arising
                                  19                      out of a written agreement entered into before the
                                                          Occurrence or offense under which the Member
                                  20                      assumed the tort liability of others for injury to a
                                  21                      third person or entity caused by the Member’s
                                                          negligence or other fault; and
                                  22
                                                   C.     this exclusion does not apply . . . for liability the
                                  23
                                                          Member would have had in the absence of the
                                  24                      contract or agreement.
                                  25               Coverage is not provided for any liability resulting from
                                  26               guaranteeing the results of treatment.
                                  27
                                  28                                              14
                                                                              COMPLAINT
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                                   1      66.   Exclusion 5 of the Primary Policy states:
                                   2            This Contract does not apply to any injury that is expected
                                                or intended by the Member. This exclusion does not
                                   3
                                                apply to Bodily Injury resulting from the use of
                                   4            reasonable force to protect person or property.
                                   5      67.   Exclusion 6 of the Primary Policy states:
                                   6            Except for the defense of criminal charges as provided in
                                   7            Section 2.6, this Contract does not apply to any Claim
                                                arising from or brought about or contributed to by the
                                   8            Member’s dishonest, fraudulent, criminal or malicious
                                   9            acts or omissions, or to acts or omissions that an insurer
                                                could not indemnify under California Insurance Code
                                  10            Section 533.
                                  11
                                          68.   Exclusion 9 of the Primary Policy states:
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                                  12
                                                This Contract does not apply to any Claim based, in whole
                                  13            or in part or directly or indirectly, on, attributable to,
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                                                arising out of, resulting from, or in any way related to any
                                  14
                                                actual or alleged violation of any federal, state or other
                                  15            statutory or common law (including but not limited to the
                                  16            Cartwright Act, California Business & Professions Code
                                                § 16600, et. seq., the Unfair Practices Act, Business &
                                  17            Professions Code § 17000, et. seq. and the Unfair
                                  18            Competition Act of the State of California, Business &
                                                Professions Code §§ 17200, et. seq. and 17500, et. seq.
                                  19            and Title 15 of the United States Code, all as they may be
                                  20            amended from time to time) that prohibits the unlawful
                                                restraint of trade, business or profession, except any
                                  21            liability arising from actions brought against the Member
                                  22            by any person or persons alleging the improper or
                                                unlawful denial or restriction of medical staff privileges or
                                  23            alleging the Member’s failure to act upon any application
                                  24            for such privileges.

                                  25      69.   Exclusion 12 of the Primary Policy states:
                                  26            BETArma will not pay any punitive or exemplary
                                                damages, fines, penalties, taxes, trebled damages or any
                                  27
                                  28                                         15
                                                                          COMPLAINT
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                                   1                other measure of damages exceeding actual compensatory
                                                    damages.
                                   2
                                   3         70.    Exclusion 16 of the Primary Policy states:
                                   4                BETArma will not pay for equitable remedies or the costs
                                                    of complying with equitable remedies, governmental
                                   5                requests, directives, orders or recommendations.
                                   6                (Examples of equitable remedies include injunctions,
                                                    restitution, disgorgement, declaratory relief, constructive
                                   7                trust, and rescission, reformation or specific performance
                                   8                of a contract.)
                                   9         71.    Exclusion 24 of the Primary Policy states:
                                  10                This Contract does not apply to any damages directly or
                                                    indirectly arising out of, resulting from or in any way
                                  11
                                                    related to any Privacy Breach Wrongful Act.
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                                  12
                                             72.    The Primary Policy defines a Privacy Breach Wrongful Act as
                                  13
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                                       “(a) any actual or alleged failure to safeguard or to prevent unauthorized access to or
                                  14
                                       use or disclosure of any Personal Information, including any access, use or
                                  15
                                       disclosure that exceeds authorization, (b) failure to give notification of an actual or
                                  16
                                       potential unauthorized access to, or use or disclosure of, any Personal
                                  17
                                       Information.”
                                  18
                                             73.    As defined by the Primary Policy, “Personal Information includes
                                  19
                                       any information defined as ‘individually identifiable health information,’ ‘medical
                                  20
                                       information’, ‘personal information’ or ‘personally identifying information’ in the
                                  21
                                       Health Insurance Portability and Accountability Act of 1996 or the California Civil
                                  22
                                       Code, as amended from time to time, or in any regulations adopted thereunder.”
                                  23
                                             74.    The Ironshore Policy excludes coverage for “loss or damages,
                                  24
                                       including costs of defense, based on or arising out of any Unauthorized Personal
                                  25
                                       Information Disclosure,” and Ironshore does not recognize the erosion of any
                                  26
                                       Underlying Insurance by the payment of such loss or damage. (Ex. A, End’t 7.)
                                  27
                                  28                                              16
                                                                               COMPLAINT
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                                   1       75.   The Ironshore Policy defines Unauthorized Personal Information
                                   2 Disclosure as follows:
                                   3             I.    any access to, collection, of release of, disclosure of
                                                       any person’s or organization’s confidential or
                                   4
                                                       personal information, including . . . health or
                                   5                   medical information or any other type of nonpublic
                                                       information; including but not limited to violations
                                   6
                                                       of Health Insurance Portability and Accountability
                                   7                   Act of 1996 (HIPAA) and any amendments thereto,
                                                       whether the claim is made by or on behalf of a
                                   8
                                                       private individual, entity or government agency; or
                                   9
                                                 II.   loss of, loss of use of, damage to, corruption of,
                                  10                   inability to access, or inability to manipulate
                                  11                   Electronic Data.
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                                  12       76.   The Ironshore Policy defines Electronic Data as:
                                  13             [A]ny information, facts or programs stored as or on,
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                                                 created or used on, or transmitted to or from computer
                                  14
                                                 software, including systems and applications software,
                                  15             hard or floppy disks, CD-ROMs, tapes, drives, cells, data
                                  16             processing devices or any other media which are or may
                                                 be used with electronically controlled equipment or other
                                  17             electronic backup facilities, and data transmission or
                                  18             storage by means of the Internet. “Electronic Data” is not
                                                 tangible property.
                                  19
                                           77.   Section 7, Paragraph 14.B of the Primary Policy states:
                                  20
                                                 With respect to the Named Member . . . and the persons
                                  21             identified in Sections 7.1.A(1) and 7.1.A(6)(a), this
                                  22             Contract shall be excess of any valid and collectible
                                                 insurance or other coverage or self-insurance obtained or
                                  23             maintained by the Member or for the Member’s benefit,
                                  24             whether such coverage or insurance or self-insurance is
                                                 stated to be primary, contributory, excess, contingent or
                                  25             otherwise, unless such coverage or insurance or self-
                                  26             insurance is written only as specific excess coverage,
                                                 insurance or self-insurance over and above the Limit of
                                  27
                                  28                                          17
                                                                           COMPLAINT
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                                   1                Liability provided under this Contract by reference to the
                                                    Certificate number of this Contract.
                                   2
                                   3                                      COUNT I
                                                                   DECLARATORY JUDGMENT
                                   4
                                              78.   Ironshore incorporates the allegations of the foregoing Paragraphs of
                                   5
                                       this Complaint.
                                   6
                                              79.   This is a claim for declaratory judgment pursuant to 28 U.S.C. §§ 2201
                                   7
                                       and 2202. Ironshore seeks a judicial determination of the rights and duties of the
                                   8
                                       parties under the Policy.
                                   9
                                              80.   A real and actual controversy exists between Ironshore, on the one
                                  10
                                       hand, and USC and Dr. Tyndall, on the other, concerning whether (a) Ironshore is or
                                  11
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                                       was obligated to defend or indemnify USC and/or Dr. Tyndall in the State-Court
                                  12
                                       Actions; and (b) Ironshore is or was obligated to indemnify USC and/or Dr. Tyndall
                                  13
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                                       in the Federal Class Action for the Federal Settlement.
                                  14
                                              81.   The issuance of declaratory relief by this Court will resolve the existing
                                  15
                                       controversy between the parties.
                                  16
                                              82.   Ironshore is entitled to a judicial declaration that the Underlying
                                  17
                                       Insurance has not been exhausted by defense costs or claims covered under the
                                  18
                                       terms and conditions of the Underlying Insurance or insurable under applicable
                                  19
                                       law.
                                  20
                                              83.   The Federal Class Action and State-Court Actions allege that USC, the
                                  21
                                       Trustees, and Dr. Tyndall acted intentionally, deliberately, wantonly, maliciously,
                                  22
                                       recklessly and otherwise with a mental state beyond mere negligence.
                                  23
                                              84.   Ironshore is entitled to a judicial declaration that it does not have a duty
                                  24
                                       to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  25
                                       indemnify USC or Dr. Tyndall for the Federal Settlement to the extent that the
                                  26
                                       injuries alleged do not arise out of the negligence of USC, the Trustees, and/or
                                  27
                                  28                                              18
                                                                               COMPLAINT
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                                   1 Dr. Tyndall in rendering of, or failure to render, Professional Services.
                                   2        85.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                   3 to indemnify USC for the “Tier One” compensation paid in the Federal Settlement
                                   4 because those payments do not arise out of the negligence of USC, the Trustees,
                                   5 and/or Dr. Tyndall in rendering of, or failure to render, Professional Services or
                                   6 because the individuals receiving Tier One compensation did not have Bodily
                                   7 Injury or otherwise present Claims within the scope of the Primary Policy’s
                                   8 insuring agreements.
                                   9        86.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                  10 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  11 indemnify USC or Dr. Tyndall for the Federal Settlement to the extent that the
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                                  12 Trustees or Dr. Tyndall were not acting within the course and scope of their duties
                                  13 to USC and/or did not qualify as Members under the Primary Policy.
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                                  14        87.    As alleged above, USC and Dr. Tyndall knew before July 1, 2017 of
                                  15 allegations of racial discrimination and sexual harassment and abuse against
                                  16 Dr. Tyndall. Before that date, USC had concluded that Dr. Tyndall had violated
                                  17 USC’s policies against racial discrimination and sexual harassment, and USC had
                                  18 terminated Dr. Tyndall’s employment with USC.
                                  19        88.    A reasonable person would have believed, before July 1, 2017, that a
                                  20 Claim might be made against USC, the Trustees, and/or Dr. Tyndall based on the
                                  21 facts and circumstances known to USC and Dr. Tyndall.
                                  22        89.    Under the terms of the Policy, therefore, the Tyndall Claim is deemed
                                  23 first made before July 1, 2017.
                                  24        90.    USC failed to report the Claim to Ironshore before July 1, 2017.
                                  25        91.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                  26 under the Policy to defend or indemnify USC or Dr. Tyndall in the State-Court
                                  27
                                  28                                             19
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                                   1 Actions, or to indemnify USC or Dr. Tyndall for the Federal Settlement because
                                   2 USC, the Trustees, Dr. Tyndall or any other person qualifying as a Member under
                                   3 the Primary Policy had knowledge prior to the Effective Date (i.e., July 1, 2017) of
                                   4 facts or circumstances that would cause a reasonable person to believe that a Claim
                                   5 might be made and failed to report the Claim.
                                   6         92.   Upon information and belief, USC has undertaken a contractual
                                   7 obligation to defend or indemnify Dr. Tyndall and the Trustees.
                                   8         93.   Ironshore is entitled to a judicial declaration that it does not have a duty
                                   9 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  10 indemnify USC, the Trustees, or Dr. Tyndall for the Federal Settlement under
                                  11 Exclusion 1 to the Primary Policy to the extent that their actual or alleged liability
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                                  12 arises out of the breach of any contract or agreement or liability assumed by the
                                  13 Member under any contract or agreement.
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                                  14         94.   Ironshore is entitled to a judicial declaration that it does not have a duty
                                  15 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  16 indemnify USC or Dr. Tyndall for the Federal Settlement under Exclusion 5 to the
                                  17 Primary Policy to the extent that USC, the Trustees, or Dr. Tyndall allegedly or
                                  18 actually intended or expected to injure any plaintiff in the State-Court Actions or the
                                  19 Federal Class Action.
                                  20         95.   Ironshore is entitled to a judicial declaration that it does not have a duty
                                  21 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  22 indemnify USC or Dr. Tyndall for the Federal Settlement under Exclusion 6 to the
                                  23 Primary Policy to the extent that the actual or alleged liability of USC, the
                                  24 Trustees, or Dr. Tyndall arises from, was brought about, or was contributed to by
                                  25 their dishonest, fraudulent, criminal or malicious acts or omissions, or to acts or
                                  26 omissions that an insurer cannot indemnify under California Insurance Code Section
                                  27
                                  28                                             20
                                                                              COMPLAINT
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                                   1 533.
                                   2         96.    The State-Court plaintiffs allege that USC and Dr. Tyndall have
                                   3 violated Section 17200 of the Business and Professions Code.
                                   4         97.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                   5 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions under
                                   6 Exclusion 9 to the Primary Policy because the actual or alleged liability of USC,
                                   7 the Trustees, or Dr. Tyndall is based, in whole or in part or directly or indirectly, on,
                                   8 attributable to, arising out of, resulting from, or is related to an actual or alleged
                                   9 violation of Unfair Practices Act, Business & Professions Code § 17000, et. seq. and
                                  10 the Unfair Competition Act of the State of California, Business & Professions Code
                                  11 § 17200, et. seq. that prohibits the unlawful restraint of trade, business or profession.
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                                  12         98.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                  13 to indemnify USC or Dr. Tyndall in the State-Court Actions or for the Federal
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                                  14 Settlement under Exclusion 12 to the Primary Policy to the extent that any portion
                                  15 of any judgment or settlement in the State-Court Actions and the Federal Settlement
                                  16 constitutes punitive or exemplary damages, fines, penalties, taxes, trebled damages
                                  17 or any other measure of damages exceeding actual compensatory damages.
                                  18         99.    Ironshore is entitled to a judicial declaration that it does not have a duty
                                  19 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions or to
                                  20 indemnify USC or Dr. Tyndall for the Federal Settlement under Exclusion 16 to the
                                  21 Primary Policy to the extent that any portion of any judgment or settlement in the
                                  22 State-Court Actions and the Federal Settlement constitutes equitable remedies or the
                                  23 costs of complying with equitable remedies.
                                  24         100. The plaintiffs in the Federal Class Action and the State-Court Actions
                                  25 allege that Dr. Tyndall took photographs of plaintiffs’ naked bodies in the guise of
                                  26 performing medical services, but that the photographs were not properly maintained
                                  27
                                  28                                              21
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                                   1 and/or were taken for Dr. Tyndall’s prurient purposes.
                                   2         101. Ironshore is entitled to a judicial declaration that it does not have a duty
                                   3 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                   4 indemnify USC or Dr. Tyndall for the Federal Settlement under Exclusion 24 to the
                                   5 Primary Policy to the extent that the damages sought directly or indirectly arise out
                                   6 of, result from or in any way relate to any actual or alleged Privacy Breach
                                   7 Wrongful Act.
                                   8         102. Ironshore is entitled to a judicial declaration that it does not have a duty
                                   9 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  10 indemnify USC or Dr. Tyndall for the Federal Settlement to the extent that the loss
                                  11 or damages, including costs of defense, are based on or arise out of any
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                                  12 Unauthorized Personal Information Disclosure as defined by the Policy.
                                  13         103. Ironshore is entitled to a judicial declaration that it does not have a duty
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                                  14 to defend or indemnify USC or Dr. Tyndall in the State-Court Actions, or to
                                  15 indemnify USC or Dr. Tyndall for the Federal Settlement to the extent that USC or
                                  16 Dr. Tyndall have other insurance as defined by Section 7, Paragraph 14.B of the
                                  17 Primary Policy.
                                  18         104. Ironshore is entitled to a judicial declaration that it does not have a duty
                                  19 to defend or indemnify USC in the State-Court Actions, or to indemnify USC or
                                  20 Dr. Tyndall for the Federal Settlement to the extent that USC ratified Dr. Tyndall’s
                                  21 allegedly improper conduct.
                                  22         105. Ironshore is entitled to a judicial declaration that the allegations of the
                                  23 State-Court Actions and Federal Action constitute a single Claim under the term of
                                  24 the Primary Policy, which states that “[t] wo or more Claims arising out of … an
                                  25 act, error, omission or offense or a series of related … acts, errors, omissions or
                                  26 offenses shall be treated as a single Claim” and that “acts, errors, omissions and
                                  27
                                  28                                             22
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                                   1 offenses are related if they share a causal connection or have as a common nexus
                                   2 any event or transaction or series of events or transactions.”
                                   3        106. Ironshore is entitled to a judicial declaration that it is entitled to recover
                                   4 all amounts that it paid in the event that any carrier below Ironshore recoups or
                                   5 recovers amounts that it paid toward the underlying limits.
                                   6        107. Ironshore paid the limits of the Policy to USC subject to a full
                                   7 reservation of its rights under the Policy and the law, including under Buss and Blue
                                   8 Ridge, to recover all amounts that it does not have a duty to pay.
                                   9                                       COUNT II
                                                                          RESCISSION
                                  10
                                  11        108. Ironshore incorporates the allegations of the foregoing Paragraphs of
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                                  12 this Complaint.
                                  13       109. The Ironshore Policy was issued in reliance on the Application. (Ex.
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                                  14 A, § I.)
                                  15        110. The Policy defines an Application as “an application furnished to the
                                  16 Insurer (if any), and all other documents, materials or other information furnished
                                  17 or available, and all other statements made, to the Insurer and to the insurer(s) of
                                  18 the Underlying Insurance, whether directly or indirectly, concerning the business
                                  19 and/or operations of the Insured.” (Ex. A, End’t 5.)
                                  20        111. When USC applied to Ironshore to renew the coverage, USC had
                                  21 completed its investigation of the allegations against Dr. Tyndall, had found that he
                                  22 had violated USC’s race and sexual harassment policies in response to complaints of
                                  23 patient harm, and upon information and belief had decided to terminate Dr. Tyndall.
                                  24 By the time that USC, through its insurance broker, directed Ironshore to bind
                                  25 coverage, USC had told Dr. Tyndall that his employment was being terminated and
                                  26 had presented him with a severance agreement.
                                  27        112. Upon information and belief, at all times relevant hereto, USC believed
                                  28                                             23
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                                   1 that if the allegations of improper medical care and of sexual and racial harassment
                                   2 over multiple years were to be disclosed to the public that Dr. Tyndall and USC
                                   3 would be sued by former patients.
                                   4        113. When USC applied to Ironshore to renew the excess policy for the
                                   5 2017-18 policy period, USC failed to disclose any of the foregoing facts and
                                   6 allegations regarding Dr. Tyndall to Ironshore.
                                   7        114. USC knew that the allegations made against Dr. Tyndall would be
                                   8 material to all of the insurers to which USC applied for healthcare professional
                                   9 liability coverage, including Ironshore.
                                  10        115. USC knew that it was applying for healthcare professional liability
                                  11 coverage on a claims-made basis and therefore incidents that had happened in
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                                  12 previous years would be relevant to an insurer that was evaluating the risk that a
                                  13 claim would be presented in the 2017-18 policy period.
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                                  14        116. Had USC disclosed the facts and allegations regarding Dr. Tyndall, at a
                                  15 minimum, Ironshore would not have offered insurance coverage on the terms that it
                                  16 did. The allegations regarding Dr. Tyndall were material to the risk that Ironshore
                                  17 was undertaking in providing excess healthcare professional liability coverage.
                                  18        117. Because USC did not disclose any information concerning the
                                  19 allegations to the public until May 16, 2018, Ironshore could not have independently
                                  20 discovered the risk that the allegations made against Dr. Tyndall were likely to
                                  21 result in claims against both Dr. Tyndall and USC.
                                  22        118. On May 16, 2018, the Los Angeles Times published an article that
                                  23 alleged that USC had allowed Dr. Tyndall to continue practicing in the Student
                                  24 Health Center as a gynecologist “although he had been accused repeatedly of
                                  25 misconduct toward young patients.” See Harriet Ryan, Matt Hamilton, Paul Pringle,
                                  26 “A USC Doctor Was Accused of Bad Behavior with Young Women for Years. The
                                  27
                                  28                                            24
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                                   1 University Let Him Continue Treating Students,” Los Angeles Times, 16 May 2018,
                                   2 available at https://www.latimes.com/local/california/la-me-usc-doctor-misconduct-
                                   3 complaints-20180515-story.html. The day before the story was published, USC
                                   4 issued statements disclosing that the 2016 investigation by USC “concluded that
                                   5 Tyndall had violated the university’s policy on harassment by making repeated
                                   6 racially discriminatory and sexually inappropriate remarks during patient
                                   7 encounters,” and that USC therefore began termination proceedings against
                                   8 Dr. Tyndall. See “Summary of Coordinated Investigation of Student Health
                                   9 Physician,” available at https://pressroom.usc.edu/files/2018/05/Summary-fact-
                                  10 sheet_5.15.18.pdf.
                                  11         119. On or before May 8, 2018, USC learned of the impending Los Angeles
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                                  12 Times story.
                                  13         120. Since the Los Angeles Times story broke in May 2018, hundreds of
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                                  14 plaintiffs have filed lawsuits against Dr. Tyndall and USC.
                                  15         121. USC demanded coverage from Ironshore for the lawsuits arising from
                                  16 the allegations about Dr. Tyndall’s conduct from its healthcare professional liability
                                  17 carriers under the policies issued for the 2017-18 policy period.
                                  18         122. USC, in applying for healthcare professional liability insurance from
                                  19 Ironshore, had a duty to disclose all facts material to the risk that USC asked
                                  20 Ironshore to undertake.
                                  21         123. The allegations of unprofessional conduct and resulting harm made by
                                  22 multiple professionals and patients against Dr. Tyndall, who had practiced as a
                                  23 gynecologist for USC for approximately 27 years, were material to the risk that USC
                                  24 was asking Ironshore to undertake for the policy period of July 1, 2017 to July 1,
                                  25 2018.
                                  26         124. Upon information and belief, when USC applied for the Ironshore
                                  27
                                  28                                            25
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                                   1 Policy, USC believed that the allegations against Dr. Tyndall were likely to result in
                                   2 claims against Dr. Tyndall and USC. USC gave sufficient credence to the
                                   3 allegations that on January 31, 2017 it found that Dr. Tyndall had violated USC’s
                                   4 policies against race and sexual harassment, and USC terminated his employment on
                                   5 or about May 16, 2017.
                                   6        125. USC provided its insurers, including Ironshore, with periodic reports of
                                   7 claims and incidents that might result in claims without limiting its reports to
                                   8 incidents potentially involving damages in excess of primary coverage.
                                   9        126. Based on USC’s reporting practices, Ironshore had no reason to believe
                                  10 that USC was omitting potential claims of the magnitude presented by the
                                  11 allegations against Dr. Tyndall.
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                                  12        127. USC did not disclose the allegation against Dr. Tyndall to Ironshore
                                  13 when it applied for the Policy.
         KLINEDINST PC




                                  14        128. If Ironshore had known of the allegations against Dr. Tyndall,
                                  15 Ironshore would not have issued coverage on the same terms, and certainly would
                                  16 not have agreed to provide coverage for claims arising out of Dr. Tyndall’s alleged
                                  17 misconduct.
                                  18        129. Ironshore is entitled to rescission of the Policy pursuant to Section 330
                                  19 et seq. of the California Insurance Code and/or common law.
                                  20        130. Accordingly, in the event that the Court does not enter judgment in
                                  21 Ironshore’s favor on Count I, the Court should enter an order declaring the Policy
                                  22 void or voidable and granting Ironshore’s request that the Policy be rescinded.
                                  23        WHEREFORE, Ironshore respectfully requests that this Court enter an order:
                                  24               a.    Declaring that Ironshore did not have a duty to defend or
                                  25                     indemnify USC or Dr. Tyndall; or
                                  26               b.    Rescinding the Policy; and
                                  27
                                  28                                            26
                                                                             COMPLAINT
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                                   1             c.    Ordering USC to reimburse Ironshore for the money that it paid
                                   2                   under reservation of rights to USC; and
                                   3             d.    Awarding such further relief as the Court deems appropriate.
                                   4
                                   5                                KLINEDINST PC
                                   6
                                       DATED: February 11, 2021     By:     /s/ Paul H. Burleigh
                                   7                                      Paul H. Burleigh
                                   8                                      Attorneys for Plaintiff
                                                                          IRONSHORE SPECIALTY INSURANCE
                                   9                                      COMPANY

                                  10                                      Ronald P. Schiller
                                                                          (application for pro hac vice admission to be
                                  11                                      submitted)
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                                  12                                      Sharon F. McKee
                                                                          (application for pro hac vice admission to be
                                  13
         KLINEDINST PC




                                                                          submitted)
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